            Case 4:18-cv-00682-KGB Document 11 Filed 10/16/18 Page 1 of 8



                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                LITTLE ROCK DIVISION


JORDYN HASTINGS                                                                       PLAINTIFF

       vs.                            Case No. 18-cv-00682

SAFEGUARD SECURITY AND
SURVEILLANCE, INC., AMERICAN
HOMESECURES, INC. and
ASHISH BHATIA                                                                      DEFENDANTS

       DEFENDANTS’ BRIEF IN SUPPORT OF MOTION TO DISMISS PLAINTIFF’S COMPLAINT
           FOR LACK OF PERSONAL JURISDICTION PURSUANT TO FRCP R. 12(b)(2)

       In compliance with Local Rule 7.2 and in support of Defendants’ Motion to Dismiss,

Defendants Safeguard Security and Surveillance, Inc. (“SafeGuard”), American Homesecures, Inc.

(“AHS”), and Ashish Bhatia offer this brief and memorandum of law and request this Court grant

Defendants’ Motion to Dismiss for Lack of Personal Jurisdiction pursuant to FRCP R. 12(b)(2).

       I.       BACKGROUND

       SafeGuard is a Connecticut corporation with its principal place of business in

Connecticut. AHS is a Texas corporation with its principal place of business in Texas. Ashish

Bhatia is a resident of Texas and is the president of AHS. According to her Complaint, Plaintiff,

an Arkansas resident, claims Defendants caused telemarketing calls to be placed to Plaintiff’s cell

phone and that these telemarketing calls contravened various provisions of the Telephone

Consumer Protection Act (“TCPA”). As demonstrated by the annexed affidavits which were

attached to Defendants’ Motion to Dismiss, this Court lacks personal jurisdiction over the two

foreign corporate Defendants and over the one foreign individual Defendant. It is clear based on

the supporting affidavits that Plaintiff cannot show that Defendants had the requisite contacts

with the State of Arkansas. Accordingly, Plaintiff’s Complaint must be dismissed pursuant to

FRCP R. 12 (b)(2).
         Case 4:18-cv-00682-KGB Document 11 Filed 10/16/18 Page 2 of 8



       II.     LEGAL STANDARD AND APPLICABLE LAW

       “Before [a] case can be reached on the merits, a challenge to the court’s personal

jurisdiction is a threshold issue.” MSI, Inc. v. Botello, 2001 WL 1134741 at *2 (Ark. Ct. App.

Sept. 26, 2001). “The requirement that jurisdiction be established as a threshold matter . . . is

inflexible and without exception, for jurisdiction is the power to declare the law, and without

jurisdiction the court cannot proceed at all in any cause.” Id. citing Rohrgas AG v. Marathon Oil

Co., 526 U.S. 574 (1999)) (quotations omitted). “[T]he plaintiff has the burden of proving that a

non-resident defendant has sufficient contacts with Arkansas to be sued in personam.”             Id;

Burlington Indus., Inc., v. Maples Indus., Inc., 97 F.3d 1100, 1102 (8th Cir. 1996). “While the facts

adduced in a Rule 12(b)(2) motion must be viewed in a light most favorable to the party opposing

the motion, there must nonetheless be some evidence upon which a prima facie showing of

jurisdiction may be found to exist.” Smith v. Hobby Lobby Stores, Inc., 968 F. Supp. 1356, 1359

(W.D. Ark. 1997). Where, defendants submits affidavits controverting the plaintiff’s jurisdictional

claims, the burden is on the plaintiff to produce evidence of personal jurisdiction. Purdue Research

Found. v. Sanofi-Synthelabo, S.A., 338 F.3d 773, 783 n.13 (7th Cir. 2003) citing Meier v. Sun Int’l

Hotels, Ltd., 288 F.3d 1264, 1269 (11th Cir. 2002)).

       III.    LEGAL ARGUMENT

       A.      This Court Lacks Personal Jurisdiction over Defendants

       Claims against Defendants should be dismissed because Defendants have had no contacts

with Arkansas. A federal court may assume jurisdiction over nonresident defendants only to the

extent permitted by the long-arm statute of the forum state, and by the due process clause of the

Fourteenth Amendment. Burlington Indus., Inc., v. Maples Indus., Inc., 97 F.3d 1100, 1102 (8th Cir.
          Case 4:18-cv-00682-KGB Document 11 Filed 10/16/18 Page 3 of 8



1996). The jurisdiction of Arkansas courts over non-resident defendants is coextensive with the

jurisdiction allowed by the Due Process Clauses of the Constitution. See Ark. Code Ann. § 16-4-

101(b). Due process requires “certain minimum contacts with [the forum state] such that the

maintenance of the suit does not offend traditional notions of fair play and substantial justice.”

Yanmar Co., Ltd. v. Slater, 386 S.W.3d 439, 445 (Ark. 2012), quoting International Shoe Co. v.

Washington, 326 U.S. 310, 316 (1945)). “The defendant’s conduct and connection with the forum

state must be such that defendant should reasonably anticipate being haled into court there.”

Burlington Indus., Inc., 97 F.3d at 1102. (internal quotes and citations omitted).

       In order to find personal jurisdiction over a defendant, the court must find that it may

exercise either (1) specific or (2) general jurisdiction.     Specific jurisdiction requires that the

defendant has purposefully directed its activities at forum residents, and the litigation results from

injuries arising out of, or relating to, those activities. Burlington, 97 F.3d at 1103. However, if the

plaintiff does not allege that jurisdiction is based on the defendant’s activities directed at residents

of the forum state, then the exercise of personal jurisdiction is general, not specific. Id. A

defendant may be subject to the forum state's exercise of general personal jurisdiction only if its

contacts with the state are continuous, systematic, and substantial. Id. Irrespective of whether

jurisdiction is alleged to be specific or general, due process requires that (1) the nonresident

defendant purposefully availed itself of the benefits and protections of the forum state by

establishing minimum contacts with the state; and (2) the exercise of jurisdiction over the non-

resident defendant would not offend traditional notions of fair play and substantial justice. Id.

The “purposeful availment” standard exists to ensure that a defendant is not subject to suit in a

jurisdiction based on “‘random,’ ‘fortuitous,’ or ‘attenuated’ contacts.”        Burger King Corp. v.
          Case 4:18-cv-00682-KGB Document 11 Filed 10/16/18 Page 4 of 8



Rudzewicz, 471 U.S. 462, 542 (1985). Purposeful availment occurs only when a defendant created

“a substantial connection” with the forum state by the defendant’s own intentional conduct. Id.

Here, Plaintiff cannot satisfy either the general or specific personal jurisdiction standard.

        B.      General Jurisdiction Does Not Exist over Defendants

        Defendants are not subject to general jurisdiction in Arkansas. In fact, the affidavits

plainly show that Defendants have zero contacts with Arkansas. As is evident from the annexed

affidavits, Defendants lack any contacts with Arkansas and thus an Arkansas court cannot exercise

general jurisdiction over them. General jurisdiction can be exercised only where a defendant has

"substantial, continuous and systematic" contacts with the forum. Daimler AG v. Bauman, 134 S.

Ct. 746, 749 (2014).

        For a nonresident corporation, general jurisdiction will attach only when “the

corporation’s affiliations with the State in which suit is brought are so constant and pervasive as to

render [it] essentially at home in the forum State.” See Daimler AG v. Bauman, 571 U.S. 20, 134 S.

Ct. 746, 751 (2014) (emphasis added). For a nonresident corporation, the place of incorporation

and principal place of business are the “paradigm all-purpose forums” for general jurisdiction. Id.

at 760. “[R]arely, if ever will a corporation be ‘at home’ in a state in which it is not incorporated

or does not have its principal place of business.” Sioux Transportation, Inc., v. XPO Logistics, Inc.,

2015 WL 9412930 at *4 (W.D. Ark. Dec. 22, 2015). Here, there is no evidence that would

support a conclusion that defendants are “essentially at home” in Arkansas. Id. at 751. None of

the corporate Defendants have offices, employees, clients, or property in Arkansas, and they do

not transact business in the state. See Exhibit A, Mark G. Theriaque Affidavit at ¶¶ 4-6 attached

hereto. Accordingly, the corporate Defendants are not “essentially at home” in Arkansas – to the
          Case 4:18-cv-00682-KGB Document 11 Filed 10/16/18 Page 5 of 8



contrary, they have no contacts at all with Arkansas – and this Court lacks general jurisdiction over

them. See, e.g., Epps v. Stewart Info. Servs. Corp., 327 F.3d 642, 650 (8th Cir. 2003) (parent

company with no Arkansas office, no authorization to conduct business in Arkansas, no bank

accounts, and no personal property in Arkansas not subject to general personal jurisdiction);

Burlington Indus., Inc., 97 F.3d at 1103 (finding evidence of sales and phone calls within Arkansas

was not sufficient for exercise of general jurisdiction over defendant where defendant had no

offices in the state, was not registered there, and had no bank accounts, property, employees or

agents in the state); Valley View Agri, LLC v. Producers Coop. Oil Mill, 2015 WL 6459981 at *4 (E.D.

Ark. Oct. 26, 2015) (refusing to exercise general personal jurisdiction over parent corporation,

holding while parent had continuous and systematic contacts with the state, the “contacts were not

so continuous and systematic as to render it essentially at home in Arkansas.”).

        Moreover, there can be no finding of general jurisdiction as to Ashish Bhatia given that he

has no contacts with Arkansas and has never even traveled to Arkansas. Magic Toyota, Inc. v.

Southeast Toyota Dist., Inc., 784 F. Supp. 306 (D.S.C. 1992), (citing Columbia Briargate Co. v. First

Nat'l Bank, 713 F.2d 1052 (4th Cir. 1983)) (refusing to exercise personal jurisdiction over certain

corporate owners and officers).

        C.      There is No Basis for the Exercise of Specific Personal Jurisdiction over
                Defendants

        Plaintiff likewise cannot establish specific jurisdiction over Defendants. Defendants have

not purposefully directed activities toward Arkansas, and Plaintiff cannot show that her claims

result from injuries that arise out of or relate to Defendants’ activities in the state. See Helicopteros

Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 416 (1984); Burlington, 97 F.3d at 1103.

        In Arkansas, courts evaluating specific jurisdiction assess the nonresident defendants’
          Case 4:18-cv-00682-KGB Document 11 Filed 10/16/18 Page 6 of 8



contacts with the forum state and consider five factors: (1) the nature and quality of the contacts

with the forum state; (2) the quantity of the contacts; (3) the relationship of the cause of action to

the contacts; (4) the interest of [the forum state] in providing a forum for its residents; and (5) the

convenience or inconvenience to the parties.” Burlington, 97 F.3d at 1103. In conducting this

analysis, the first three factors are of primary importance. Id.

        Given the annexed affidavits, Plaintiff cannot show that Defendants had any contacts with

Arkansas, let alone that Plaintiff’s claims in this litigation arose from Defendants’ activities, if any,

in Arkansas. Indeed, Defendants are not professionally licensed in Arkansas, do not transact

business in Arkansas, maintain no offices or places of business in Arkansas, own no real property

in Arkansas, and have no customers or employees in Arkansas. See Exhibit A, Mark G. Theriaque

Affidavit at ¶¶ 4-11; Exhibit B, Ashish Bhatia Affidavit at ¶¶ 2-13 and 18-25. Further, the

affidavits show that Defendants did not place the calls at issue. Exhibit A at ¶ 10; Exhibit B at ¶¶

16, 24. As such, there is no evidence that Defendants purposefully availed themselves of the

privileges of conducting business in Arkansas. See Burlington, 97 F.3d at 1103 (sale of goods along

with telephone calls in the state were insufficient contacts to confer specific personal jurisdiction

over nonresident manufacturer). As Defendants have no contacts with the state of Arkansas and

did not make the calls at issue, Plaintiff cannot meet any of the factors of the five-factor test

sufficient for the exercise of personal jurisdiction over Defendants.

        Defendants acknowledge that a corporate agent can, theoretically, be held personally liable

for torts committed in their corporate capacity. Ripplemeyer v. Nat'l Grape Coop. Assoc., Inc., 807 F.

Supp. 1439, 1446 (W.D. Ark. 1992). If a corporate officer engages in tortious conduct in his

corporate capacity in the forum, courts may consider this conduct as a contact with the forum that
             Case 4:18-cv-00682-KGB Document 11 Filed 10/16/18 Page 7 of 8



may be sufficient to support a finding of personal jurisdiction over the officer in his individual

capacity. Birts v. Vermillion, No. 08-CV-4011, 2009 U.S. Dist. LEXIS 87205, at *11-12 (W.D. Ark.

Sep. 23, 2009). But, Mr. Bhatia’s affidavit indicates that he has no contacts with Arkansas -- either

individually or in his corporate capacity -- and that neither he nor the corporate Defendants called

Plaintiff.    Thus, there can be no basis for exercising personal jurisdiction over Mr. Bhatia

individually and/or in his capacity as a corporate agent.

        IV.      CONCLUSION AND REQUEST FOR RELIEF

        Plaintiff’s claims against Defendants must be dismissed for lack of personal jurisdiction.

Defendants are not subject to the jurisdiction of this Court because Defendants do not have the

necessary contacts with the State of Arkansas which justify either general or specific jurisdiction

over them in this Court. For the reasons set forth in the Motion and brief above and in view of

the annexed affidavits, Plaintiff’s Complaint must be dismissed pursuant to FRCP R. 12(b)(2).

                                              Respectfully submitted,

                                              BARBER LAW FIRM PLLC
                                              425 W. Capitol Avenue, Suite 3400
                                              Little Rock, AR 72201
                                              501-372-6175 (main)
                                              501-375-2802 (fax)

                                              By:     /s/ J. Carter Fairley
                                                      J. Carter Fairley #99068
                                                      ATTORNEY FOR DEFENDANTS
                                                      cfairley@barberlawfirm.com
          Case 4:18-cv-00682-KGB Document 11 Filed 10/16/18 Page 8 of 8



                                     CERTIFICATE OF SERVICE

        I, J. Carter Fairley, hereby state that on this 16th day of October, 2018, I have
electronically filed the foregoing with the Clerk of the Court using the CM/ECF system, which
shall send notification of such filing to the following or otherwise be forwarded via U.S. Mail to all
counsel of record herein.

Jason M. Ryburn, Esq.
Ryburn Law Firm
650 S. Shackleford Dr., Ste. 231
Little Rock, AR 72211
Attorney for Plaintiff

                                               /s/ J. Carter Fairley
                                               J. Carter Fairley
